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                       UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA



 In Re Banc of California Securities Litigation

                                                       Case No: 18-mc-76(WMW/KMM)



                     NOTICE OF FILING OF OFFICIAL TRANSCRIPT

 Notice is hereby given that an official transcript of a proceeding has been filed by the court
 reporter/transcriber in the above-captioned matter.

 The parties have seven (7) calendar days as of the date of this filing to file a Notice of Intent to
 Request Redaction of this transcript to redact personal data identifiers in accordance with Fed. R.
 Crim. P. 49.1 and Fed. R. Civ. P. 5.2. Please review Local Rule 5.5 for the rules in this district
 to redact information from transcripts. Any party needing a copy of the transcript to review for
 redaction purposes may purchase a copy from the court reporter or view the document at the
 public terminals located in the Clerk’s Office.

 In accordance with Judicial Conference policy and Local Rule 80.1, after 90 calendar days from
 the date of this filing, the transcript may be made remotely electronically available to the public.
 Case participants who have purchased a copy of the transcript from the court reporter and have a
 CM/ECF account will have remote electronic access to the transcript during the 90-day
 restriction period.

 Date:        11/26/2018                             /s/ Renee A. Rogge
                                                       Official Court Reporter

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